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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 16-5051-GW(AFMx)                                              Date    April 23, 2018
 Title             ALS Scan, Inc. v. Cloudflare, Inc., et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            Katie Thibodeaux
                 Deputy Clerk                         Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                        Jay M. Spillane                                        Jebediah Wakefield
                         Kevin D. Neal                                           Andrew Bridges
                                                                          John L. Ambrogi by telephone
 PROCEEDINGS:                DEFENDANT’S MOTION FOR CLARIFICATION OF MARCH 13, 2018
                             ORDER, AMENDMENT TO CERTIFY ORDER FOR
                             INTERLOCUTORY APPEAL, AND STAY OF PROCEEDINGS
                             PENDING APPEAL [442];

                             PRETRIAL CONFERENCE


For reasons stated on the record, Defendant’s Motion for Clarification [442] is DENIED.

Defendant Cloudflare will file a proposed judgment forthwith. Motions to Exclude [426][428], are
deemed MOOT.

Court and counsel confer re pretrial issues. After conferring with counsel the Court will deem Plaintiff’s
Motions in Limine Numbers 12, 17, 18, and 19 MOOT. Motion in Limine Number 10 is GRANTED.

The pretrial conference is continued to April 26, 2018 at 8:30 a.m.




                                                                                                    :        30
                                                                Initials of Preparer   JG
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